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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:07CR3148
                                                 )
MICHAEL B. YODER,                                )
                                                 )
                            Defendant.           )

                                          ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Extend the Deadline for Filing Pretrial Motions, filing 30, from December 28, 2007, until

January 7, 2008. The Court, being fully advised in the premises, and noting that the

Government has no objection, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the defendant shall file any pretrial motions in

the above captioned matter no later than Monday, January 7, 2008. This Court further

finds that, based upon the showing set forth in defendant’s motion, the ends of justice will

be served by extending the deadline for filing pretrial motions. Further, that taking such

action outweighs the best interests of the public and the defendant in a speedy trial.

Accordingly, the time from December 28, 2007, until January 7, 2008, shall be excluded

from any speedy trial calculation pursuant to 18 U.S.C. §3161(h)(8)(A).

       Dated this 2nd day of January, 2008.

                                                 BY THE COURT:



                                                 s/  David L. Piester
                                                 The Honorable David L. Piester
                                                 United States Magistrate Judge
